                       Case 3:14-cr-00282-SI             Document 5            Filed 04/22/14            Page 1 of 1



AO 442 (Rev. IIIII) AITest Warrant
                                                                                                               OR\G\NAL
                                       UNITED STATES DISTRICT COURT U.s. :.14 ,,,,.
                                                                 20]1 r1     1101-f4Ls
                                                   for the                                                 Ar /r 16
                                                           District of Oregon                                                h1 i;? rs
                   United States of America
                                v.                                 )
                                                                   )           Case No.
                JASON MICHAEL KEATING                              )                               '14-MJ- 57
                                                                   )
                                                                   )
                                                                   )


                                                     ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(""""ofpenon to 1M QI'Nsted}         JASON MICHAEL KEATING
who is accused of an offense or violation based on the following document filed with the court:

a     Indictment         a    Superseding Indictment      a   Infonnation        a   Superseding Infonnation               rW Complaint
a     Probation Violation Petition        a   Supervised Release Vi~ation Petition          a Violation Notice a                 Order of the Court
                                                                        '4![
This offense is briefly described as follows:                    l1 ,..,               Lj
    RecelptotstolenGoods(1Bu.s.c.§231s)                            ~•lr£sr£o                  I (0 I
                                                                                  By        ::-3             lt
                                                                                          ~
Date:         04/1612014


City and state:


                                                                Return
          This warrant was received on (dote) _ _ _ _ _ _ ,and the person was arrested on (dote)                          _ _ _ _ __
at (city and .rlllle)

Date: ____________
                                                                                            A.rnsting o.fftcer 's sigtltiiUI'e



                                                                                               Prlrrted name and title
